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                         No. 22-50834
    In the United States Court of Appeals
            for the Fifth Circuit
                        ______________________
                       United States of America,

                                      Plaintiff-Appellant,
                                      v.
                          Jose Gomez Quiroz,

                                   Defendant-Appellee.
                        ______________________

            On Appeal from the United States District Court
                  for the Western District of Texas

                          No. 4:22-CR-104-DC
                        ______________________

       Joint Motion for Supplemental Briefing Regarding
     United States v. Rahimi, No. 22-915 (U.S. June 21, 2024)
                       ______________________
     The parties respectfully request leave to file supplemental briefs ad-
dressing the impact of the Supreme Court’s decision in United States v.

Rahimi, No. 22-915, 2024 WL 3074728 (June 21, 2024), on this appeal.
     Defendant-Appellee Quiroz was charged with buying a gun while un-
der felony indictment, see 18 U.S.C. § 922(n), and lying about his status as

an indicted defendant in connection with the purchase, see id. § 922(a)(6).
The district court ruled that § 922(n) facially violates the Second Amend-
ment. It also ruled that because Quiroz could not be constitutionally

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prohibited from buying a gun based on his indictments, he could not be
prosecuted for lying about them. The district court thus dismissed both

charges. The government challenges these rulings on appeal.
     On June 21, 2024, the Supreme Court decided another Second
Amendment case, Rahimi. In its opinion, the Court observed that “some

courts have misunderstood the methodology of our recent Second
Amendment cases,” 2024 WL 3074728, at *6, and expounded on that
methodology and its underlying principles, id. at *6–11. It applied those

principles and its precedents to hold that 18 U.S.C. § 922(g)(8), which pro-
hibits an individual subject to certain domestic-violence orders from pos-
sessing a firearm, is consistent with the Second Amendment. Id. at *5, *11.

     Additional briefing to address Rahimi is warranted so that the parties
can best assist the Court in resolving this appeal. As explained above,
Rahimi provides valuable guidance on the appropriate methodology for

determining whether a particular statutory prohibition on firearms is con-
stitutional. Rahimi also clarifies the standard for resolving facial challenges
to a statute. 2024 WL 3074728, at *11 & n.2.

     The parties respectfully request that the Court order briefing to pro-
ceed on the following schedule: (1) Appellant’s supplemental brief due 45
days after the order on this motion is entered; (2) Appellee’s supplemental

brief due 30 days after Appellant’s supplemental brief is filed; and (3) Ap-
pellant’s reply due 14 days after Appellee’s supplemental brief is filed. This
schedule will enable the parties to prepare briefs that will best assist the

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Court in resolving this appeal, which addresses a complex constitutional
issue of great public importance. Quiroz was released from detention after

the district court dismissed the charges; thus, additional briefing does not
affect his imprisonment. The U.S. Attorney’s Office and Federal Public
Defender’s office have numerous other pending appeals affected by Rahimi

that may also require attention during this period. Finally, the requested
briefing schedule would give the U.S Attorney’s Office time to coordinate
with other Department of Justice components.

                                Conclusion
     For these reasons, the parties jointly request that this Court grant

them leave to submit supplemental briefing in this appeal. The parties fur-
ther request that the Court enter the following briefing schedule: (1) Ap-
pellant’s supplemental brief due 45 days after the order on this motion is

entered; (2) Appellee’s supplemental brief due 30 days after Appellant’s
supplemental brief is filed; and (3) Appellant’s reply due 14 days after Ap-
pellee’s supplemental brief is filed.




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Respectfully submitted,

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United States Attorney                  Federal Public Defender
                                        Western District of Texas

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                          Certificate of Service
     I certify that on June 24, 2024, I filed this motion through this
Court’s electronic case-filing system, which will serve it on all registered
counsel.

                                       /s/ Stephanie F. Cagniart
                                       Stephanie F. Cagniart
                                       Assistant United States Attorney


                                *      *     *

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                                       /s/ Stephanie F. Cagniart
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